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IN THE UNITED sTATEs DISTRICT coURT F"£“E": /M`c
FoR THE wEs'rERN DISTRICT oF TENNESSEE 85
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' "J= "Nl MEMPH}S

 

JEROME CLARK ,
Plaintiff,
vs l

Case Nb: 04»2749-B[P

PETERBILT OF MEMPHIS,

Defendant.

 

ORDER GRANTING MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

 

Before the court is plaintiff’s Motion for Leave to File
Amended Complaint filed April 14, 2005 (Dkt #20). For good cause
shown, and the defendant having no Opposition thereto, plaintiff's

Motion for Leave to File Amended Complaint is hereby GRANTED.

KI:P@W\

TU M. PHAM
United States Magistrate Judge

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I'I' IS SO ORDERED.

T'nis document entered on the docket sheet in compliance

with Rule 53 and/or re(a) FRCP on__(_p-_Z£'_Q.'>_

A. -

UNITED sTATES DISTIC COURT - WESRNTE D"'TRCT 0 TNNESSEE

 
   

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
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June 20, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

